
644 S.E.2d 361 (2007)
STATE of North Carolina
v.
Donald Rorie CHAPMAN.
No. 179PA06.
Supreme Court of North Carolina.
March 8, 2007.
Nathan J. Earwood, Sylva, for Donald Rorie Chapman.
Robert C. Montgomery, Special Deputy Attorney General, Michael Bonfoey, District Attorney, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 24th day of April 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
